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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

ZAPFRAUD, INC.,               )
                              )
              Plaintiff,      )
                              )
        v.                    )
                              )          C.A. No. 19-1690 (CFC)
MIMECAST NORTH AMERICA,       )
INC., MIMECAST UK LIMITED and )
MIMECAST SERVICES LTD.,       )
                              )
              Defendants.     )

      DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR
      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


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I.       NATURE AND STAGE OF THE PROCEEDINGS

         Plaintiff ZapFraud, Inc. (“ZapFraud”) filed this suit on September 10, 2019,

alleging infringement of U.S. Patent No. 10,277,628 (the “’628 patent”). D.I. 1.

ZapFraud asserted the ’628 patent against several other defendants in separate suits.

Nos. 19-1687, -1688, -1689, -1691. ZapFraud filed its first amended complaint on

October 29, 2019. D.I. 18. Defendants Mimecast North America, Inc., Mimecast

UK Limited, and Mimecast Services Ltd. (collectively “Mimecast”) moved to

dismiss under Rule 12(b)(6) for lack of patent eligible subject matter under 35 U.S.C.

§ 101.

         On April 24, 2020, ZapFraud filed its second amended complaint, which adds

a continuation patent, U.S. Patent No. 10,609,073 (the “’073 patent”), that is

substantially identical to the ’628 patent. D.I. 29 (“SAC”). The only difference is

that its claims are even broader than the ’628 patent’s claims. Mimecast now moves

to dismiss the SAC for lack of patent eligible subject matter.

II.      SUMMARY OF ARGUMENT

         In Alice Corp. v. CLS Bank International, 573 U.S. 208, 216-18 (2014), the

Supreme Court set forth its two-step test for determining patent eligibility under

§ 101. ZapFraud’s patent claims fail that test because they (1) are directed to the

abstract idea of identifying deceptive communications that appear to be from a

trustworthy source and taking action based on that determination and (2) add nothing


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inventive to that abstract idea.

      The claims address a human problem, not a technological one, and recite basic

steps that humans can and do perform. As the patent explains, “fraudsters” try to

scam their victims by “phishing”—i.e., posing as a trusted authority and seeking

personal information such as passwords. The claimed solution is to automatically

determine whether an email is genuine and take action accordingly. See, e.g., ’628

patent at 2:59-4:19. But humans regularly manually inspect and dispose of emails

posing as trustworthy sources—and they have done so with letters for centuries.

Automating such activity using admittedly conventional computer hardware and

software (“standard commercially available,” id. at 6:37-42), without any specific

details on how to engineer such a system, is insufficient under § 101. Indeed, the

Federal Circuit found ineligible similar claims for screening and diverting emails

with unwanted content, such as spam or viruses, see Intellectual Ventures I LLC v.

Symantec Corp., 838 F.3d 1307 (Fed. Cir. 2016) (“Symantec”)), and for detecting

transaction fraud, see Bozeman Financial LLC v. Federal Reserve Bank of Atlanta,

955 F.3d 971, 979-80 (Fed. Cir. 2020). The claims here are equally ineligible under

§ 101 as a matter of law.




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III.   STATEMENT OF FACTS

       A.    Asserted Patents

       The ’628 and ’073 patents, each titled “Detecting Phishing Attempts,” share

the same written description. They are directed to detecting whether an electronic

communication originated from an authoritative source.

       The written description explains that “nefarious individual[s]” often send

emails that look like “legitimate message[s]” from “a trustworthy entity” to trick

unsuspecting recipients into disclosing sensitive information, such as passwords or

bank account numbers.      ’628 patent at 3:41-4:1.   Nothing new there.      Such

“phishing” attempts “can be particularly problematic” because the fraudulent

messages “often contain text, logos, or other symbols that users associate with

legitimate messages” and can include urgent-sounding messages that encourage the

user to respond, such as “‘you need to change your password’ or ‘please confirm

your account information is correct.’” Id.; see id. at 1:28-30. Nothing new there.

The patents’ solution is identifying deceptive messages that purport to be from a

trusted source and taking action accordingly—e.g., deleting them. Id. at 2:59-4:19,

22:52-62. But that is nothing new either.

       The patents admit that the purported invention requires only conventional

computer technology, also nothing new, “such as standard commercially available”




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hardware and “typical” operating system software. Id. at 6:37-42.1 The purported

invention “can be implemented in numerous ways” using any combination of

“general component[s],” such as “a processor” or “memory,” that are “configured to

perform” the relevant functions.      Id. at 2:25-37.   It is “not limited to any

embodiment” or any “specific details” described in the written description. Id. at

2:25-55. Tellingly, many of the figures depict no-name components and empty

boxes, such as Figure 9 (“an embodiment” of the “message classification”

component) and Figure 16 (“an embodiment of a process for taking an action based

on a classification of a message”):




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    All emphasis added.
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Id. at 1:19, 2:4, figs. 4-6, 10-14. Such empty figures confirm that the purported

invention provides no specific improvement in computer technology and consists of

vacuous components configured to perform conventional functions.

      The claims likewise require no new or improved computer technology. Each

patent has three independent claims (claims 1, 14, and 15) and twelve dependent

claims (claims 2-13). The independent claims of the ’628 patent recite “detecting

attempted deception in an electronic communication” using the basic steps of

(1) receiving a message, (2) examining the sender’s name, (3) determining that the

message appears to be from an “authoritative entity” by, for example, noticing that

the sender’s name is the “same” as the bank’s name, (4) determining that the

message was not, in fact, from the “authoritative entity,” (5) classifying the message

as “good” or “bad,” and (6) disposing of “bad” messages by, for example, deleting,

modifying, or diverting them.




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     Claim 14 of the ’628 patent is representative:




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’628 patent at 35:35-36:28 (step numbers added).

      The ’628 patent’s other independent claims are the same, except couched as a

“system” (claim 1) or a “computer program product” (claim 15). The ’073 patent’s

independent claims are materially the same, but are even broader because they

(a) are not limited to examining the sender’s name (alternatively allowing use of the

sender’s email address or other features) and (b) largely omit steps [2] and [5]. ’073


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patent cl. 1, 14, 15. The dependent claims of both patents recite inconsequential and

known details. Infra at 22-23.

      B.     Prosecution History

      The ’628 patent was filed on September 14, 2014. For several years, the

examiner (repeatedly) rejected the claims under § 101, see, e.g., Ex. A at 6-7, 29-33,

53-58, 77-83, 117-124, 150-160, and only finally allowed them after the applicant

added the following language to the end of step [3]:




’628 patent cl. 14, 35:58-36:3 (numerals added); see Ex. A at 174, 178, 180-81, 184,

191-203, 208-09. That language, however, merely recites a litany of options for

determining whether the sender’s name matches a known authoritative entity—any

one of which will suffice (“at least one of …”). That language does not require

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anything more than rudimentary matching—i.e., “determining that the compared

items are the same.”

      The ’628 patent issued on April 30, 2019, and the continuation ’073 patent

issued on March 31, 2020.

IV.   LEGAL STANDARDS

      A.     Motions To Dismiss Under Rule 12(b)(6)

      Patent-ineligibility under § 101 is a threshold issue that “may be, and

frequently has been, resolved on a Rule 12(b)(6)” motion, before formal claim

construction or fact development, where there are no relevant factual disputes. SAP

Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018). Under Rule

12(b)(6), the Court accepts well-pleaded factual allegations but “disregard[s] rote

recitals of the elements of a cause of action, legal conclusions, and mere conclusory

statements.” James v. City of Wilkes-Barre, 700 F.3d 675, 679 (3d Cir. 2012).

      B.     Patent Eligibility Under 35 U.S.C. § 101

      Section 101 delineates the categories of patent eligible subject matter, but

“contains an important implicit exception” for abstract ideas—such as mental

processes or fundamental human activities—which are not patent eligible. Alice,

573 U.S. at 216. The two-step Alice framework governs whether computer-based

claims are ineligible under § 101. Id. at 217-27.

      At step one, the Court determines whether the asserted claims are, at root,


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directed to an abstract idea notwithstanding the computer features. Id. at 218. At

step two, the Court determines whether the other claim elements, individually or

collectively, add “significantly more”—something “inventive”—apart from the

abstract idea. Id. at 217-22. The inventive concept cannot stem from the abstract

idea itself. SAP, 898 F.3d at 1163. Automating an abstract idea in a “‘particular …

technological environment’” using conventional computer technology does not

make the claims “‘any less abstract’” and contributes nothing inventive. Symantec,

838 F.3d at 1314, 1316; see Alice, 573 U.S. at 225-26. Nor may claims simply recite

“‘generic functional language to achieve [the] purported solutions’” without

claiming “‘how the desired result is achieved.’” Two-Way Media Ltd. v. Comcast

Cable Commc’ns, LLC, 874 F.3d 1329, 1339 (Fed. Cir. 2017).

V.    ARGUMENT

      ZapFraud’s patent claims are ineligible under § 101 because they are directed

to an abstract idea and add nothing inventive.

      A.     ZapFraud’s Patent Claims Are Directed To An Abstract Idea

             1.    The Claims Are Directed To Longstanding Human Activities

      The claims of the asserted patents are directed to the abstract idea of

identifying deceptive messages that appear to be from a trustworthy source and

taking action accordingly—activities that humans have long performed.

      The claims merely break down that abstract concept into a series of basic


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steps. For example, claim 14 of the ’628 patent (which is representative of all

claims) recites “[a] method for detecting attempted deception in an electronic

communication” by: (1) receiving a message (’628 patent at 35:37-38),

(2) examining the sender’s name (the “display name”) (id. at 35:39-40),

(3) “determining” that the message appears to be from an “authoritative entity” (e.g.,

by determining that the sender’s name is the name of an authoritative entity) (id. at

35:41-36:3), (4) “determining” that the communication was not, in fact, from the

authoritative entity (id. at 36:4-6), (5) “classifying” the message (e.g., as “good” or

“bad”) (id. at 36:7-16), and (6) processing “bad” messages (e.g., by deleting,

modifying, or diverting them) (id. at 36:17-28).2

      The ’628 patent’s other two independent claims are the same, but couched as

a “system” (claim 1) or “a computer program” (claim 15)—which does not change

the analysis. Alice, 573 U.S. at 226 (ineligible system and software claims “no

different from the method claims in substance”).           The ’073 patent’s three

independent claims are materially the same, albeit even broader because they omit

some limitations. Supra at 7-8. The dependent claims of both patents add only

inconsequential and known limitations. Infra at 22-23. Consequently, all claims




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  The claims are properly found ineligible based on representative claim 14 because
they are “substantially similar” and directed to the same idea. Content Extraction &
Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1344 (Fed. Cir.
2014). But they are ineligible even if considered individually, as discussed below.
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focus on identifying and processing deceptive messages. See BSG Tech LLC v.

BuySeasons, Inc., 899 F.3d 1281, 1287 n.1 (Fed. Cir. 2018) (dependent claims

abstract despite differences).

      Humans have long performed such steps to determine whether messages are

genuine or deceptive—in the computer context or otherwise. For example, when

someone receives an email (or a letter) that appears to be from a bank (e.g., because

it has the bank’s name on it), they will determine whether the message is, in fact,

from that bank (e.g., by examining it for suspicious features like misspellings) and

take appropriate action (e.g., deleting or throwing away “bad” messages).

      ZapFraud’s patents acknowledge that their claims reflect familiar human

concerns and activities. They explain that “nefarious individual[s]” often send

messages pretending to be from “a trustworthy entity”—including familiar “text,

logos, or other symbols”—to trick recipients into disclosing sensitive information.

’628 patent at 1:28-30, 3:41-4:1; supra at 3. They acknowledge that humans could

“manual[ly] sort[]” messages to determine which are fraudulent. Id. at 15:39-40.

And the complaint admits that the claims merely purport to “automatically and

reliably identif[y] Business Email Compromise scams”—messages that “a human

would recognize”—and “tak[e] action in response, such as filtering or reporting the

message.” SAC ¶¶ 1, 28-29, 48-49. The patents and ZapFraud thus admit that the

claims are directed to a problem and solution rooted in longstanding human activities

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and problems—precisely the type that are found abstract at Alice step one. See

Symantec, 838 F.3d at 1314 (“‘fundamental … practice[s] long prevalent’ are

abstract ideas” (quoting Alice, 573 U.S. at 219)); Elec. Commc’n Techs., LLC v.

ShoppersChoice.com, LLC, --- F.3d ---, 2020 WL 2479692, at *3 (Fed. Cir. May 14,

2020) (“ECT”) (same, collecting cases).

             2.     Generic Computer Automation Does Not Make The Claims
                    Non-Abstract

      Automating those human activities with generic computer components does

not make the claims non-abstract. The claims require only admittedly conventional,

off-the-shelf, technology (e.g., “standard commercially available … hardware” with

“typical” operating software, ’628 patent at 35:37, 6:37-42), and functional labels

(e.g., a “classifier component” to classify the messages, id. at 35:41, 36:4). Supra at

3-8. But that generic computerization—even if “automat[ing] or otherwise mak[ing]

[the steps] more efficient,” OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359,

1363 (Fed. Cir. 2015)—does not make the claims “‘any less abstract.’” Symantec,

838 F.3d at 1319; see also, Intellectual Ventures I LLC v. Capital One Bank (USA),

792 F.3d 1363, 1367, 1371 (Fed. Cir. 2015) (“‘software’ ‘brain’” that “improved

speed or efficiency” does not make claims non-abstract). That is because “[i]t is not

enough” to point to such conventional activities and mental processes that humans

perform “and say ‘do it on a computer.’” Apple, Inc. v. Ameranth, Inc., 842 F.3d

1229, 1243 (Fed. Cir. 2016).
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      The claims and central idea here are very similar to automated computer

claims for screening electronic messages and detecting fraud that the Federal Circuit

has found abstract. For example, in Symantec, the claims for “screening emails and

other data files for unwanted content” (such as spam) and “routing e-mail messages

based on specified criteria (i.e., rules)” were abstract because they were akin to

people receiving mail, screening it for unwanted content, and then “deleting,

returning, or forwarding” it—which are “‘fundamental ... practice[s] long prevalent

in our system’ and ‘method[s] of organizing human activity.’” Id. at 1311-14, 1317-

18 (quoting Alice, 573 U.S. at 219).

      Similarly, in Bozeman, the ineligible claims for “detecting fraud in financial

transactions”—by “receiving” two financial records, matching their “parameters,”

and warning against completing the transaction—were abstract because they were

akin to fraud-detection activities “‘humans have always performed.’” 955 F.3d at

979 (quoting Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l

Ass’n, 776 F.3d 1343, 1347 (Fed. Cir. 2014)). In ECT, the ineligible claims for

“increas[ing] security” in electronic messages—by including “authentication

information” so the recipient could determine whether they were sent by “an

authorized source”—were abstract because they reflected “longstanding” practices.

2020 WL 2479692, at *3. And, in FairWarning IP, LLC v. Iatric Sys., Inc., the

ineligible claims for “collecting and analyzing [personal] information to detect

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misuse and notifying a user” were “‘essentially mental processes within the abstract-

idea category.’” 839 F.3d 1089, 1093 (Fed. Cir. 2016) (citation omitted); see also,

e.g., Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d 1317, 1327 (Fed.

Cir. 2020) (controlling access to computer resources); Elec. Power Grp. v. Alstom

S.A., 830 F.3d 1350, 1351-52 (Fed. Cir. 2016) (analyzing power grid data to detect

anomalies); CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1373-74

(Fed. Cir. 2011) (detecting fraud in credit card transactions).

      The same result follows here. Like the claims in those cases for screening and

diverting emails with unwanted content (Symantec) or identifying and preventing

fraud (Bozeman, ECT, and FairWarning), the ’628 and ’073 patent claims focus on

screening emails to detect fraudulent messages and taking action accordingly.

Those, too, are activities “humans have always performed,” Bozeman, 955 F.3d at

979-980, and “‘essentially mental processes within the abstract-idea category,’”

FairWarning, 839 F.3d at 1093. As discussed, “with the exception of generic

computer-implemented steps, there is nothing in the claims themselves that foreclose

them from being performed by a human.” Symantec, 838 F.3d at 1318.

      The claimed invention is distinct from the type of “specific … improvement[s]

in computer capabilities”—particular solutions to computer-specific problems—that

might confer patent eligibility at Alice step one. Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1336 (Fed. Cir. 2016). For example, the Federal Circuit found eligible

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claims for an improved self-referential database in Enfish; an improved behavior-

based computer virus protection software in Finjan, Inc. v. Blue Coat Sys., 879 F.3d

1299, 1305 (Fed. Cir. 2018); and an improved way to verify data transmissions using

a permutated check sum in Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d

1143, 1150 (Fed. Cir. 2019). The claims were eligible because “they focused on ‘an

improvement to computer functionality itself,’” Finjan, 879 F.3d at 1305 (quoting

Enfish, 822 F.3d at 1336), and “recite[d] a specific means or method that solves a

problem in an existing technological process,” Koninklijke, 942 F.3d at 1150.

      In contrast, here, “computers are invoked merely as a tool,” Enfish, 822 F.3d

at 1336, to automate activities for identifying deceptive messages that humans have

long done. The claims provide no particular advance in computer technology—just

“result-based functional language” that “does not sufficiently describe how to

achieve these results.” Two-Way Media, 874 F.3d at 1337. The claims are recited

in highly generalized functional terms, such as “determining” that the message is not

authentic and “classifying” it, but with no direction on how to do so. Supra at 5-7.

As the patents admit, the claimed invention can be “implemented in numerous ways”

using “general component[s]” and is “not limited to any embodiment” or any

“specific details” in the written description. ’628 patent at 2:25-55. As a result, any

purported benefits from the claims flow not from improved computer technology but

from “performing an abstract idea in conjunction with [] well-known” computer

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technology and purely functional components. BSG, 899 F.3d at 1288. That is a

hallmark of claims directed to an abstract idea.

             3.    Optional Features Do Not Make The Claims Non-Abstract

      The claims’ inclusion of various optional features is irrelevant. Although such

“excess verbiage” makes the claims longer, the claims are focused on the abstract

deception-detection concept. Affinity Labs. of Tex., LLC v. DIRECTV, LLC, 838

F.3d 1253, 1256 (Fed. Cir. 2016) (ignoring “excess verbiage”); Electric Power, 830

F.3d at 1354-55 (“core” of “lengthy” eight-step claims was abstract idea). It

provides only inconsequential “narrowing” that does not make the claims non-

abstract. BSG, 899 F.3d at 1287.

      First, the claims recite a litany of commonplace options for matching the

sender’s name to a known entity, such as a bank. That language is found, for

example, in claim 14 of the ’628 patent at the end of step [3], at 35:58-36:3. Supra

at 6-7. Notably, that language was the only reason that the claims were ultimately

allowed by the examiner, after being repeatedly rejected under § 101. Id. The

examiner recognized that the rest of the language was abstract. Id. But, contrary to

the examiner’s determination, that addition does not save the claims because it is a

list of rudimentary options to “match” the names. Indeed, any listed option will

suffice, see ’628 patent at 35:58-59 (“at least one of …”), and the first option is to

recognize that the sender’s name is the “same” as a known entity’s name, id. at


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35:60—a basic mental process. Adding that abstraction makes no difference. See

RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017) (“Adding

one abstract idea … to another … does not render the claim non-abstract.”).

      The other optional ways of matching the sender’s name to a known entity are

also garden-variety comparisons, and equally abstract. Determining the “Hamming

distance,” ’628 patent cl. 14, at 35:61-62, means counting how many characters are

different between two items of equal length (e.g., the distance between “then” and

“than” is one). Determining the “edit distance,” id. at 35:62-64, means counting

how many “edits” it takes to get from one item to the other (e.g., the distance between

“than” and “thanks” is two). And the “similarity score,” id. at 35:66-36:3, indicates

the characters’ similarity (e.g., “‘M’ and ‘N’ are 90% similar”), id. at 20:28-31.

Humans can perform all of those mentally—for example, by noticing “‘ACNE

Dank’” is close to “‘ACME Bank.’” Id. at 20:23-25.

      Second, the claims recite options for handling deceptive messages. Id. at

36:18-28, 9:45-48. But, again, that limitation is satisfied by any of those options—

the first of which is a basic human response: erasing it. The remaining options—

including moving it to a spam folder—are equally familiar human responses to

suspicious messages. Such alternatives also make no difference.

      Zapfraud’s patent claims are directed to the abstract idea of identifying

deceptive messages that appear to be from a trustworthy source and taking action

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accordingly.

      B.       The Patent Claims Add Nothing Inventive

      At Alice step two, the Court must determine whether there are “additional

elements [that] ‘transform the nature of the claim’ into a patent-eligible application.”

Alice, 573 U.S. at 217. As the Federal Circuit recently reiterated, “[t]he appropriate

question is not whether the entire claim as a whole was ‘well-understood, routine

[and] conventional’” but rather whether, “apart from” the abstract idea, the

additional elements individually or in combination add something inventive.

Chamberlain Grp. v. Techtronic Indus. Co., 935 F.3d 1341, 1348-49 (Fed. Cir.

2019); see BSG, 899 F.3d at 1290 (step two requires “significantly more” than

claims’ use of abstract idea).

               1.   The Independent Claims Add Nothing Inventive

      Here, the independent claims add nothing inventive to the abstract idea. The

purported advance is a system that detects deception by determining “whether the

apparent sender matches the actual sender” and “tak[ing] actions in response.” ’628

patent at 3:15-26; see SAC ¶¶ 28-29, 48-49. But that is the abstract idea itself, which

cannot supply the inventive concept. BSG, 899 F.3d at 1290 (“a claimed invention’s

use of the ineligible concept to which it is directed cannot supply the inventive

concept”); SAP, 898 F.3d at 1169 (“What is needed is an inventive concept in the

non-abstract application realm.”).


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      All the claims add to the abstract idea are generic computer functions (e.g.,

“receiving,” “parsing” and “classif[ying]” messages and then deleting, modifying,

or diverting them accordingly) and generic computer components (e.g., a “server,”

“client device,” “database,” “interface,” “processors,” and “memory”). ’628 patent

cls. 1, 14, 15; ’073 patent cls. 1, 14, 15; supra at 5-8, 13-17. The patents admit that

those generic functions and components require only known and conventional off-

the-shelf hardware and software.       Supra at 3-5; see SAP, 898 F.3d at 1168

(“specification makes clear that off-the-shelf computer technology is usable to carry

out the analysis”). Those are the same “basic functions of a computer” and “purely

functional and generic” components that courts have repeatedly found merely

automate the abstract idea in a “particular technological environment”—which is

insufficient. Alice, 573 U.S. at 225-26; see, e.g., Symantec, 838 F.3d at 1313-17

(receiving, classifying, modifying, and diverting electronic messages with

undesirable content, such as spam); Berkheimer v. HP Inc., 881 F.3d 1360, 1366

(Fed. Cir. 2018) (“parsing” and evaluating data); In re TLI Commc’ns. LLC Patent.

Litig. 823 F.3d 607, 612-13 (Fed. Cir. 2016) (classifying digital files); Capital One,

792 F.3d at 1370-71 (“database,” “processors,” and “interface”).

      Even when these basic features are viewed “as an ordered combination,” there

is no “specific implementation” or “specific improvement” in computer technology

that might provide an inventive concept. Bascom Glob. Internet Servs., Inc. v. AT&T

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Mobility, LLC, 827 F.3d 1341, 1348-49 (Fed. Cir. 2016). The claims’ arrangement

merely recites conventional computer functionality to automate steps that a human

can use to detect and dispose of deceptive messages, which adds nothing inventive.

See, e.g., Symantec, 838 F.3d at 1311-22; Capital One, 792 F.3d at 1367. Indeed,

“it is clear, from the claims themselves and the specification, that these limitations

require no improved computer resources [that ZapFraud] claims to have invented,

just already available computers, with their already available basic functions, to use

as tools in executing the claimed process.” SAP, 898 F.3d at 1169-70. And the

claims are also ineligible because they are couched in “result-based functional

language” that “does not sufficiently describe how to achieve these results,” Two-

Way Media, 874 F.3d at 1337, or “how to engineer” the system, Interval Licensing

LLC v. AOL, Inc., 896 F.3d 1335, 1345 (Fed. Cir. 2018); supra at 16.

      The claims are unlike the ones the Federal Circuit has found eligible at step

two in a handful of cases. For example, in Bascom, 827 F.3d at 1350, the claims’

purported advance was a particular arrangement of components providing a specific

improved architecture for filtering and customizing internet content.        In DDR

Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1258 (Fed. Cir. 2014), the claims

recited a particular solution to solve a computer-specific problem with no real world

analogue (users being “instantaneous[ly] transported” to another website).         In

contrast, ZapFraud’s claims are rooted in familiar human concerns and provide no

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specific improved computer technology. Because the independent claims provide

no alleged inventive concept outside the abstract realm, they fail Alice step two as a

matter of law. See, e.g., Symantec, 838 F.3d at 1311-17; ECT, 2020 WL 2479692,

at *3-4; FairWarning, 839 F.3d at 1091.

             2.     The Dependent Claims Also Add Nothing Inventive

      The twelve dependent claims (claims 2-13) add the same limitations in both

patents. Ten of them reflect things that humans routinely do in identifying deceptive

messages—determining whether the message appears to be from an authoritative

source by evaluating the message’s text (claims 2-5), images (claims 6-10), or email

address (claim 11). At most, these require additional known and conventional

computer processes, such as “optical character recognition” (claim 7), “edge

detection analysis” (claim 8), and “color pattern analysis” (claim 9), ’628 patent at

11:18-24, which adds nothing inventive. See Content Extraction, 776 F.3d at 1349

(“optical character recognition” is non-inventive).

      The two other dependent claims in each patent provide for determining that

the message is not genuine by (i) assessing whether the message was “authenticated

by the authoritative entity” (claim 12) (with no details on how to do so), or evaluating

the message’s “delivery path” (claim 13) (e.g., looking for something “atypical,”

such as noticing that a message purportedly from a bank in one state actually comes

from a different state). See ’628 patent at 9:33-34, 17:3-8. These claimed functions,


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too, can be performed mentally and “add nothing of practical significance to the

underlying abstract idea.” Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 716 (Fed.

Cir. 2014).

      C.      The Patent Claims Should Be Held Ineligible On The Pleadings

      The Federal Circuit has “repeatedly recognized that in many cases it is

possible and proper to determine patent eligibility … on a Rule 12[] motion.”

FairWarning, 839 F.3d at 1097. So has this Court. E.g., WhitServe LLC v. Donuts

Inc., 390 F. Supp. 3d 571 (D. Del. 2019), aff’d 2020 WL 1815758 (Fed. Cir. Apr.

10, 2020).    This case is no exception, as there is no plausible allegation of

inventiveness outside the abstract realm.

      As discussed, the patents themselves establish that the claim elements provide

no technological improvement in computer technology—like others that the Federal

Circuit found ineligible on the pleadings. See, e.g., ECT, 2020 WL 2479692, at *2-

3; FairWarning, 839 F.3d at 1091; SAP, 898 F.3d at 1168. And “[n]o formal claim

construction” is required before finding the claims ineligible because “there [is] no

‘reasonable construction that would bring [them] within patentable subject matter,’”

Ultramercial, 772 F.3d at 719, given the patents’ admissions that they require only

known and conventional technology. See, e.g., Content Extraction, 776 F.3d at 1349

(claims ineligible on the pleadings “even when construed in a manner most favorable

to [patentee]”).


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      ZapFraud’s SAC includes no allegations that could explain how the patent

claims provide any improvement in computer technology or any inventive features.

Instead, the SAC—like the written description—acknowledges that the patent does

nothing more than automate deception-detection activities that humans can perform.

See SAC ¶ 1 (claims “automatically and reliably identif[y] Business Email

Compromise scams”), ¶¶ 28-29 (’628 claims identify deceptive messages that “a

human would recognize” and “taking an action in response”), ¶¶ 48-49 (same, ’073

claims).

      The SAC suggests that the claims “solve[] the problems with existing

technologies” by combining the various steps (e.g., determining “whether the

apparent sender matches the actual sender” and “taking action in response”) in a way

not found in prior systems. SAC ¶¶ 29, 49. But, as discussed, those steps reflect the

abstract idea itself—which is insufficient as a matter of law to make the claims

eligible: any such advance in the field would “lie[] entirely in the realm of abstract

ideas, with no plausibly alleged innovation in the non-abstract application realm.”

SAP, 898 F.3d at 1163. At most, that allegation goes to the claims’ novelty or non-

obviousness, which is a separate inquiry from ineligibility. Two-Way Media, 874

F.3d at 1340 (“Eligibility and novelty are separate inquiries.”); SAP, 898 F.3d at

1163 (“Nor is it enough for subject-matter eligibility that claimed techniques be

novel and nonobvious in light of prior art ….”). Notably, despite amending its

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complaint after Mimecast’s initial motion to dismiss under § 101, ZapFraud did not

add any allegations to bolster eligibility.

      In the rare cases where the Federal Circuit found factual issues at Alice step

two, the complaints and patents provided detailed allegations explaining how certain

claimed features might improve computer technology. See Cellspin Soft, Inc. v.

Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019); Aatrix Software, Inc. v. Green

Shades Software, Inc., 882 F.3d 1121, 1129-30 (Fed. Cir. 2018). In contrast, the

asserted patents teach that the claims do not focus on any specific improvement in

computer technology but instead on an abstract idea requiring only conventional and

generic computer components and functions. For that reason, no allegations in the

complaint could (let alone do) “plausibly allege[]” facts showing eligibility. SAP,

898 F.3d at 1163; ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 776 (Fed.

Cir. 2019) (affirming dismissal where patentee “has not identified any alleged facts

that could be pleaded that would cure the deficiencies”). As in cases such as ECT,

FairWarning, and SAP, ZapFraud’s claims are ineligible on the pleadings as a matter

of law.

VI.   CONCLUSION

      Mimecast’s motion to dismiss should be granted.




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